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                                                                                  2020 Jul-29 AM 09:09
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION
 JANE DOE,                               )
                                         )
       Plaintiff,                        )
                                         )
 V.                                      )       Case No.: 5:20-cv-1059-LCB
                                         )
 THE BOARD OF TRUSTEES OF                )
 THE UNIVERSITY OF                       )
 ALABAMA FOR AND ON                      )
 BEHALF OF THE UNIVERSITY
 OF ALABAMA IN
 HUNTSVILLE,

       Defendant.

                                     ORDER

      Plaintiff Jane Doe has moved to proceed under a pseudonym (Doc. 3). Having

considered the applicable law and the particular circumstances of the case, the Court

GRANTS the plaintiff’s Motion to Proceed Anonymously (Doc. 3) without

prejudice to the defendant’s right to challenge the motion after they have appeared

in the case.

      DONE and ORDERED July 29, 2020.



                                    _________________________________
                                    LILES C. BURKE
                                    UNITED STATES DISTRICT JUDGE
